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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     USA,                                                 Case No. 19-cr-00076-HSG-1
                                   8                     Plaintiff,                           ORDER DENYING MOTION FOR
                                                                                              EARLY TERMINATION
                                   9              v.
                                                                                              Re: Dkt. No. 77
                                  10     SPARROW,
                                  11                     Defendant.

                                  12
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                                  13           The Court has reviewed Defendant’s Motion for Early Termination of Supervised Release

                                  14   and supporting documents (Dkt. No. 77), and the oppositions filed by the Probation Office (Dkt.

                                  15   No. 80) and the United States (Dkt. No. 79). On December 16, 2020, Defendant was sentenced to

                                  16   a five-year term of probation, with a special condition requiring him to complete 18 months in the

                                  17   Location Monitoring Program on a curfew. Dkt. No. 55 at 2, 4. This noncustodial sentence was a

                                  18   substantial variance below the advisory Guidelines range of 27 to 33 months of imprisonment,

                                  19   which was based on the loss amount of Defendant’s fraud offense (nearly $300,000) and an

                                  20   enhancement for ten or more victims. Dkt. No. 45 (Presentence Report) at 7, 17.

                                  21           Having served less than half of his term of probation, and only a few months after
                                       completing the electronic monitoring condition, Defendant now seeks outright termination of his
                                  22
                                       supervision obligation. Defendant essentially contends that he has made extraordinary
                                  23
                                       rehabilitative efforts while on supervision, cites his intention to move to Texas someday, and notes
                                  24
                                       that he has fully paid his restitution obligation. Dkt. No. 77.
                                  25
                                               After considering the sentencing factors set forth in 18 U.S.C. § 3553(a), the Court may
                                  26
                                       “terminate a term of supervised release and discharge the defendant released at any time after the
                                  27
                                       expiration of one year of supervised release . . . if it is satisfied that such action is warranted by the
                                  28
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                                   1   conduct of the defendant released and the interest of justice.” 18 U.S.C. § 3583; see also United

                                   2   States v. Emmett, 749 F.3d 817, 819 (9th Cir. 2014).

                                   3            The Court exercises its discretion to deny the request for early termination. See United

                                   4   States v. Nixon, 839 F.3d 885, 887 (9th Cir. 2016). Compliance with the terms of supervised

                                   5   release is expected (and required), and does not by itself constitute a basis for terminating

                                   6   supervision less than halfway through. The Court is also of the view that the deceptive nature of

                                   7   the long-term, large-scale fraud in which Defendant engaged counsels against simply taking his

                                   8   word for it when it comes to the characterization of his current situation and plans. The Court

                                   9   finds it especially concerning that Defendant’s supervising probation officer in Hawaii says that

                                  10   “[d]espite [his] lenient sentence, Mr. Sparrow’s attitude throughout supervision has consistently

                                  11   failed to appreciate these circumstances,” and that “[i]nstead, he has displayed a contentious

                                  12   attitude toward supervision, which contradicts Mr. Sparrow’ representation that this sentence has
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                                  13   deterred him in any way and/or that he takes responsibility for his actions.” Dkt. No. 80 at 2. This

                                  14   candid firsthand assessment establishes that the continued oversight of the Probation Department

                                  15   is warranted, especially given Defendant’s ongoing work supporting financial real estate

                                  16   transactions and his plan to begin buying and selling properties himself. The need for specific and

                                  17   general deterrence also supports the continuation of Defendant’s supervision term. And while the

                                  18   Court commends Defendant for satisfying his entire restitution obligation early, that prospect was

                                  19   a substantial part of the reason that his victims supported a noncustodial sentence in the first place,

                                  20   along with Defendant’s parental responsibilities.

                                  21            Ultimately, Defendant has not shown that the interests of justice warrant termination of

                                  22   supervised release at this early stage, and the motion for early termination is accordingly

                                  23   DENIED.

                                  24            IT IS SO ORDERED.

                                  25   Dated:     2/8/2023

                                  26                                                    ______________________________________
                                                                                        HAYWOOD S. GILLIAM, JR.
                                  27                                                    United States District Judge
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